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Uajted States of America
IN THE UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF CALIFORNIA.
UNITED STATES OF AMERICA, CASE NO. 217 -CR ~ 007.0 MCE _ aA
Plaintiff, 18 U.S.C. §§ 1591(a)(1) and 1594(c) — Conspiracy to
Engage in Sex Trafficking; 18 U.S.C. §§ 1591(a)(1),
Vv. (b)(2) — Sex Trafficking of a Child; 18 U.S.C. §
1594(d) — Criminal Forfeiture
ROBERT PIERRE DUNCAN, and
EVA SYMONE CHRISTIAN,
Defendants.

 

 

 

 

INDICTMENT

COUNT ONE: [18 U.S.C. §§ 1591(a)(1) and 1594(c) — Conspiracy to Engage in Sex Trafficking]

The Grand Jury charges: TH A T

ROBERT PIERRE DUNCAN, and
EVA SYMONE CHRISTIAN,

defendants herein, beginning on a date unknown, but no later than in and around September 2018, and -

continuing through in and around October 2018, in the County of Sacramento, State and Eastern District

‘of California, and elsewhere, in and affecting interstate commerce, conspired with each other to

knowingly and, except as to the act of advertising, in reckless disregard of the fact that Minor A, a
person known to the Grand Jury, had not attained the age of 18 years, and after having reasonable

opportunity to observe Minor A, recruit, entice, harbor, transport, provide, obtain, advertise, and

INDICTMENT

 
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maintain by any means Minor A, knowing that Minor A would be caused to engage in at least one
commercial sex act, in violation of Title 18, United States Code, Sections 1591(a)(1) and 1594(c).
COUNT TWO: [18 U.S.C. §§ 1591(a)(1), (b)(@).— Sex Trafficking of a Child]

The Grand Jury further charges: T HA T

ROBERT PIERRE DUNCAN, and
EVA SYMONE CHRISTIAN,

defendants herein, beginning on a date unknown, but no later than in and around September 2018, and
continuing through in and around October 2018, in the County of Sacramento, State and Eastern District
of California, and elsewhere, in and affecting interstate commerce, knowing and, except as to the act of
advertising, in reckless disregard of the fact that Minor A, a person known to the Grand Jury, had not
attained the age of 18 years, and after having reasonable opportunity to observe Minor A, did knowingly
recruit, entice, harbor, transport, provide, obtain, advertise, and maintain by any means Minor A,
knowing that Minor A would be caused to engage in at least one commercial sex act, in violation of —
Title 18, United States Code, Sections 2, and 1591(a)(1) and (b)(2).

FORFEITURE ALLEGATION: [18 U.S.C. § 1594(d) — Criminal Forfeiture]

1. Upon conviction of one or more of the offenses alleged in Counts One and Two of this
Indictment, defendants ROBERT PIERRE DUNCAN and EVA SYMONE CHRISTIAN shall forfeit to
the United States pursuant to 18 U.S.C. § 1594(d), any property, real or personal, that was used or
intended to be used to commit or to facilitate the commission of such violations, and any property, real
or personal, constituting or derived from, any proceeds obtained, directly or indirectly, as a result of
such violations.

2. If any property subject to forfeiture as a result of the offenses alleged in Counts One and

Two of this Indictment, for which defendants are convicted:: -

a. cannot be located upon the exercise of due diligence;
b. has been transferred or sold to, or deposited with, a third party;
c. has been placed beyond the jurisdiction of the Court;
d. has been substantially diminished in value; or
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INDICTMENT

 
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€. has been commingled with other property which cannot be divided without
difficulty;
it is the intent of the United States, pursuant to 28 U.S.C. § 2461(c), incorporating 21 U.S.C. § 853(p),
to seek forfeiture of any other property of said defendant, up to the value of the property subject to

forfeiture.

A TRUE BILL.

/s/ Signature on file w/AUSA

 

_/ ‘ FOREPERSON
McGREGOR W. SCOTT
United States Attorney

 

INDICTMENT

 

 

 
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UNITED STATES DISTRICT COURT
Eastern District of California
Criminal Division

THE UNITED STATES OF AMERICA

VS.

ROBERT PIERRE DUNCAN, and
EVA SYMONE CHRISTIAN

 

INDICTMENT

VIOLATION(S): 18 U.S.C. §§ 1591(a)(1) and 1594(c) — Conspiracy to Engage in Sex Trafficking;
: 18 U.S.C. §§ 1591(a)(1), (b)(2) — Sex Trafficking of a Child;
18 U.S.C. § 1594(d) — Criminal Forfeiture

 

A true bill, /s/ Signature on file w/AUSA

 

 

 

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‘United States v. Robert Pierre Duncan, et al.

Penalties for Indictment

Defendants —
Robert Pierre Duncan
Eva Symone Christian

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COUNT 1: ALL DEFENDANTS
VIOLATION: 18 U.S.C. §§ 1591(a)(1) and 1594(c) — Conspiracy to Engage in Sex
Trafficking
PENALTIES: A maximum of up to life in prison; or

Fine of up to $250,000; or both fine and imprisonment
Supervised release of at least 5 years up to life

SPECIAL ASSESSMENT: $100 and $5,000 (mandatory on each count for non-indigent person,
18 U.S.C. § 3014(a)(4))

COUNT 2: ALL DEFENDANTS

VIOLATION: 18 U.S.C. §§ 1591(a)(1), (b)(2) — Sex. Trafficking of a Child

PENALTIES: Mandatory minimum of 10 years in prison and a maximum of up to life in
prison; or

Fine of up to $250,000; or both fine and imprisonment
Supervised release of at least 5 years up to life

SPECIAL ASSESSMENT: $100 and $5,000 (mandatory on each count for non-indigent person,
18 U.S.C. § 3014(a)(4))
FORFEITURE ALLEGATION: ALL DEFENDANTS

VIOLATION: 18 U.S.C. § 1594(d) — Criminal Forfeiture

PENALTIES: As stated in the charging document

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